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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,

                Plaintiff,

 vs.                                                                       No. CR-03-2112 MV

 JORGE TORRES-LARANEGA, et al.,

                Defendants.

                             MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Jessica Mendoza’s Motion to

Suppress All Evidence Derived From the Wiretap of Telephone Number (505) 640-3405, Filed Under

Cause No. 03-MC-18, and the Wiretap of Telephone Number (505) 635-5463, Filed Under Cause

No. 03-MC-5804 (“Motion to Suppress”) [Doc. No. 292], filed September 13, 2001, Notice of

Joinder by Defendant Jorge Torres-Laranega Joining Co-Defendant Jessica Mendoza's Motion to

Suppress [Doc. No. 324], filed October 6, 2004 and Defendant Jose Francisco Diaz’s Notice of

Joinder [Doc. No. 323], filed October 5, 2004. The Court, having considered the motions, briefs,

relevant law and being otherwise fully informed, finds that the Motion to Suppress is not well taken

and will be DENIED.

                                        BACKGROUND

       On July 23, 2003, United States District Judge Conway approved an affidavit and application

for the interception of telephone communications in 03-MC-18, for telephone number (505) 640-

3405, ESN 61434B82 (“Target Telephone 1”) and entered an order authorizing interception for a

period of 30 days. Although the named subscriber on the phone was “Jose Sanchez,” the FBI gave

the phone to Jorge Torres-Laranega and Jessica Mendoza for their use. The order resulted in the
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interception of numerous telephone conversations until August 7, 2003, when Target Telephone 1

was seized as part of a seizure of 1,400 pounds of marijuana at 405 Cinecue Way, El Paso, Texas.

       On August 28, 2003, United States District Judge Brack approved an affidavit and application

for the interception of telephone communications in 03-MC-580, for telephone number (505) 635-

5463, ESN 06912435520 (“Target Telephone 2”) and entered an order authorizing interception for

a period of 30 days. Although the named subscriber on the phone was “Joe Sanchez,” again, the FBI

delivered the phone to Torres-Laranega and Mendoza for their use. The order authorizing the

interception of telephone calls resulted in the interception of numerous telephone conversations.

       On September 13, 2004, Defendant Jessica Mendoza filed the instant motion to suppress all

evidence seized pursuant to the wiretaps of Target Telephone 1 and Target Telephone 2. The

government filed a response in opposition on September 22, 2004. The Court held a hearing on

October 6, 2004. At the conclusion of the hearing, the Court took the Motion to Suppress under

advisement.

                                         DISCUSSION

       Defendant argues that the affidavits in support of the applications for the wiretaps were

insufficient to meet 18 U.S.C. §2518(1)(c), which requires the government to show the necessity of

the wiretaps sought. According to Defendant, the affidavits demonstrate that the government had

more than enough information to proceed with the criminal prosecution of the named co-defendants

on the drug charges and that the wiretap was unlikely to produce any information regarding an

assault/abduction that the government suspected was to take place. Thus, Defendant argues, the

government really had no need for the wiretaps but simply sought the interceptions to cap an

otherwise productive investigation. As set forth herein, the Court does not agree.


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I.     “Necessity” Requirement under 18 U.S.C. §2518(1)(c)

       “Electronic eavesdropping by law enforcement officials is governed by the federal wiretap

statute, title III of the Omnibus Crime Control and Safe Streets Act of 1968, as amended.” United

States v. Castillo-Garcia, 117 F.3d 1179, 1184 (10th Cir.) (citation omitted), cert. denied sub nom.,

Amendariz-Amaya v. United States, 522 U.S. 962 (1997).              Title III contains a “necessity”

requirement which must be satisfied before a wiretap order lawfully may be issued. The purpose of

the necessity requirement “is to ensure that the relatively intrusive device of wiretapping ‘is not

resorted to in situations where traditional investigative techniques would suffice to expose the

crime.’” United States v. Edwards, 69 F.3d 419, 429 (10th Cir. 1995) (citation omitted), cert. denied

sub nom., Chaplin v. United States, 517 U.S. 1243 (1996). This necessity requirement is set forth

at 18 U.S.C. §2518(1)(c), which provides:

       Each application for an order authorizing or approving the interception of a wire, oral,
       or electronic communication . . . shall include . . . a full and complete statement as to
       whether or not other investigative procedures have been tried and failed or why they
       reasonably appear to be unlikely to succeed if tried or to be too dangerous.

In addition, the judge issuing the wiretap order must be convinced, inter alia, that “normal

investigative procedures have been tried and have failed or reasonably appear to be unlikely to

succeed if tried or to be too dangerous.” 18 U.S.C. §2518(3)(c).

       If these statutory requirements are not met, the warrant should not issue. “A successful

challenge to the necessity of a wiretap results in the suppression of evidence seized pursuant to that

wiretap.” United States v. Ramirez-Encarnacion, 291 F.3d 1219, 1222 (10th Cir. 2002). “[A]

wiretap authorization order is presumed proper, and a defendant carries the burden of overcoming

this presumption.” Castillo-Garcia, 117 F.3d at 1186.



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       The Tenth Circuit has set forth in detail what the government must include in an application

for a wiretap order to meet the necessity requirement:

       To obtain an electronic surveillance order, the government must explain fully in its
       application what investigative techniques have been tried against the target of the
       wiretap. If any of the four categories of normal investigative techniques referred to
       in the legislative history of Title III have not been tried, the government must explain
       with particularity why each of such untried techniques would be either unsuccessful
       or too dangerous. Those investigative procedures are: (1) standard visual and aural
       surveillance; (2) questioning and interrogation of witnesses or participants (including
       the use of grand juries and the grant of immunity if necessary); (3) use of search
       warrants; and (4) infiltration of conspiratorial groups by undercover agents or
       informants. In addition, if other normal investigative techniques such as pen registers
       or trap and trace devices have not been tried, a similar explanation must be offered as
       to why they also would be unsuccessful or too dangerous.

Id. at 1187. Moreover, the Tenth Circuit has made clear that “generalities, or statements in the

conclusory language of the statute, are insufficient to support a wiretap application. The statements

must be factual in nature and they must specifically relate to the individuals targeted by the wiretap.”

Id. at 1188. The government, however, is not required to “exhaust or explain its failure to exhaust

every conceivable investigative procedure before resorting to wiretapping.” Id. (emphasis in

original). Rather, the government must “prove exhaustion – either by attempt or explanation of why

the method would not work – of all ‘reasonable’investigatory methods.” Id.

II.    The Applications for a Wiretap in the Instant Case

       A.      Wiretap for Target Telephone 1

       The affidavit in support of the application for the wiretap of Target Telephone 1, attached to

the government’s response as Exhibit 1a, addresses each category of alternative investigative

techniques and sets forth why these techniques were used or were not used because the government

believed they would be unsuccessful or too dangerous. Defendant argues that these allegations are



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insufficient. First, she argues that the affidavit fails to include the necessary statement that “efforts

to utilize normal investigative procedures have failed, reasonably appear to be unlikely to succeed if

tried or are too dangerous.” In addition, she argues that the language in the affidavit is boilerplate

with very little meaningful discussion on the inadequacy of the normal investigative techniques.

Defendant argues that since the affidavit did not permit the authorizing judge to assess the success

of the investigation, he could not properly determine the necessity of the wire interception.

          In contrast, the government argues that the allegations in the affidavit are sufficient.

According to the government, the affidavit clearly describes all of the normal investigatory techniques

that were considered, used or attempted but were not sufficient to develop a prosecutable case as to

each of the suspect’s involvement in a conspiracy in drug activities. The government concludes that

Defendant has failed to rebut the presumption that the application and its supporting affidavit are

proper.

          Based on a review of the allegations set forth in the affidavit, the Court agrees with the

government. The test for whether a wiretap should issue is not, as Defendant argues, whether the

government already has a wealth of evidence or whether the government has probable cause to make

arrests. Rather, the Court must examine the objectives of the investigation and then determine

whether the wiretap is necessary to further those objectives. As set forth herein, the Court finds that

the government adequately justified the necessity of the wiretap to further the objectives of its

investigation.




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                1.      Physical Surveillance

        The affidavit states that physical surveillance contributed to two seizures of marijuana in May,

2003 in Las Cruces and in July, 2003 in Chicago. The affidavit further states that, during the Chicago

operation, it was observed that the drug trafficking organization used the counter-surveillance

technique of employing a chase vehicle. Moreover, the affidavit states, comments by members of the

organization to the Confidential Source (“CS”) indicate that they are surveillance conscious. In

addition, the affidavit states, surveillance cannot provide insight as to the nature of the meetings in

which subjects might be observed participating. Furthermore, the affidavit notes, law enforcement

officers engaged in surveillance must devote a significant amount of time and energy to avoid

detection.

        The affidavit thus explains that, while surveillance was successful in that it resulted in two

seizures of marijuana, it was not successful in identifying all of the participants, the source of the drug

supply, from where the drugs were coming and where the drugs ultimately were going. Similarly, the

affidavit explains that surveillance would not be helpful in identifying other participants or their

involvement in the conspiracy. In addition, the affidavit sufficiently describes this organization’s use

of counter-surveillance. Accordingly, the affidavit explains how surveillance was tried and how, while

it was successful to a certain extent, it could not provide the government agents with the information

they ultimately sought.

                2.      Use of Confidential Sources

        The affidavit states that the CS has identified subjects, vehicles and stash houses and has

reported on some of the tentative plans of Torres-Laranega and the organization. The CS also alerted

the FBI to the possibility of an abduction/assault and has provided the names of the intended victims.


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The affidavit states, however, that it would be uncharacteristic for the CS to ask additional questions

to gain more information about the abduction/assault and would place the CS in danger of

injury/death. Due to the limited role of the CS in the organization, the affidavit continues, the CS

cannot identify all of the co-conspirators or the extent of the conspiracy and is not privy to all of the

drug-related telephone conversations being conducted by the organization.

        The affidavit thus explains why the CS had limited usefulness. As the government noted, the

CS was aware of the danger in associating with this organization and knew that probing too far into

the intimate details of the organization presented very real risks. The affidavit specifically shows that

the CS met with Torres-Laranega’s father for the purpose of obtaining a vehicle title and she was

told, “Don’t get too deep into this. You’ll get killed.” Similarly, the affidavit shows that Torres-

Laranega told the CS that if an individual provided information about him to the police, he would

come after his or her kids “and will hit them where it hurts.” Accordingly, further use of the CS could

have compromised her safety.

        Moreover, out of sixty telephone calls inventoried pursuant to a pen register and trap and

trace to and from the target telephone, only nine calls were made to or from the CS. The CS had no

information about the other fifty-one calls. The CS thus was privy only to a small aspect of the

organization’s activities. The CS was not able to provide the agents with anything beyond what she

was allowed by the organization to hear and see. For instance, the CS did not know the identity of

many of the individuals involved with the organization. Accordingly, the affidavit sufficiently explains

how the CS was used and how, while she was helpful to a certain extent, she could not provide the

government agents with all of the information they sought.




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                 3.      Use of Undercover Agents

         The affidavit states that an undercover agent (“UA”) had recently been introduced over the

telephone to Torres-Laranega as a truck driver and that Torres-Laranega expressed interest in hiring

him, although it had not happened yet. The affidavit states that the UA’s role would be limited to

transporting loads and thus that it would be unlikely that he would be in a position to identify all co-

conspirators and the extent of the conspiracy.

         The affidavit demonstrates that, although the CS introduced the UA to Torres-Laranega by

telephone as a truck driver and Torres-Laranega agreed to meet and hire the UA to drive loads of

marijuana, attempts to meet failed when Torres-Laranega failed to show up at the designated meeting

place. Moreover, the affidavit sufficiently makes clear that the UA’s role would be limited and likely

would not provide significant insight into the identity of all co-conspirators or the full scope of the

conspiracy. Thus, the affidavit sufficiently explains how efforts were made to use a UA but that this

method simply was not effective.

                 4.      Interviews and Grand Jury Subpoenas

         In the affidavit, Agent Viera states that, in his experience, interviews and grand jury subpoenas

are usually unsuccessful. He states that it is more likely that these subjects will invoke their Fifth

Amendment rights against self-incrimination if they are approached. Consequently, he states, the

subjects would be alerted to the existence of the government’s investigative efforts and might flee,

obtain false identification, destroy evidence, harm cooperating witnesses or change communication

facilities.

         The affidavit makes clear that the technique of grand jury subpoenas was considered but ruled

out for legitimate reasons, including the likelihood that the subpoena would tip off the organization


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to the existence of the investigation. Moreover, the government expected that any organization

member subpoenaed likely would exercise his or her Fifth Amendment rights. Thus, this technique

properly was ruled out because the investigation would be compromised and a subpoena likely would

not aid law enforcement efforts at that early stage of the investigation. The affidavit sufficiently

demonstrates that the government did a balancing test of the costs and benefits of this technique and,

as a result of that test, properly determined that the costs would have outweighed the benefits.

                5.      Search Warrants and Trash Searches

        The affidavit states that investigation to date had not revealed the location of residences and

businesses of numerous subjects, including Torres, Oscar (last name unknown). Moreover, the

affidavit states, there is not sufficient probable cause to obtain a search warrant for the residences or

businesses of many of the subjects. The affidavit further states that trash searches are not possible

until these locations are determined.

        The affidavit makes clear that these techniques were considered and ruled out because agents

were not able to identify locations of residences or businesses to search, let alone develop probable

cause to support a warrant. For instance, as the government states, the CS was sent to a residence

to obtain a vehicle title from Torres-Laranega’s father and the residence location was ascertained.

Although there was credible evidence that vehicle titles and other documents were located at this

residence, the evidence alone would have been insufficient to establish a nexus between the residence

and drug-related activity. Moreover, as the government argues, the likelihood that execution of a

search warrant would have tipped off members of the organization to the investigation outweighed

the risk of a warrant search that would not produce significant evidence.

                6.      Pen Registers and Toll Records


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        The affidavit states that toll records were collected but that the subscribers were not

identified. In addition, the affidavit states that, on July 21, 2003, a pen register/trap and trace was

initiated on Target Telephone 1 but that telephone activity records alone do not allow the agents to

gain information about the content of conversations or the identities of the persons using the

telephones or involved in the calls.

        The affidavit makes clear that although the pen register and trap and trace technique resulted

in the collection of approximately sixty calls made to or from Target Telephone 1, the information

was of only limited value. Specifically, as the government argues, agents were able to determine that

the phone was used to call or receive calls from Jessica Mendoza, the CS, George Garcia and

Roberto Vasquez but were not able to determine the identity of the other callers, the content of the

calls or the source of supply of drugs. Because the agents did not know who was using the telephone

at a particular time for a particular call, the effectiveness of this technique was only marginal in terms

of the ultimate objective of the investigation, i.e., identifying all of the participants in the conspiracy

and the source of the drug supply.

                7.      Conclusion

        Based on the Court’s review of the allegations set forth in the affidavit, the Court finds that

the government adequately set forth that each of the above techniques was tried or, if it was not tried,

that it was not tried because it would not have been effective or would have been too dangerous.

While the government may have had substantial evidence before the wiretap was initiated, the

government sufficiently demonstrated that the wiretap was necessary to further the ultimate goals of

the investigation. Accordingly, Defendant has failed to rebut the presumption that the wiretap

application for Target Telephone 1 and its supporting affidavit are proper.


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         B.     Wiretap for Target Telephone 2

         The affidavit in support of the application for the wiretap of Target Telephone 2, attached to

the government’s response as Exhibit 2a, addresses each category of alternative investigative

techniques and sets forth why these techniques were used or were not used because the government

believed they would be unsuccessful or too dangerous. See Affidavit of Agent Brian Nishida at pages

33-42.

         Defendant argues that this second wiretap application, filed on August 28, 2003, was merely

a repeat of the application filed on July 23, 2003 and in essence an extension of that application.

According to Defendant, the new application was necessitated when Target Telephone 1 became

inoperative and the FBI wanted to continue the interception of telephone calls past the 30 days

allowed in the first Court Order. Defendant argues that although the government presented its

request for a second wiretap as a new and separate request, it was no more than a request for a 30

day continuation of the first wiretap. Accordingly, Defendant argues, the affidavit in support of the

wiretap should have said that it was really an extension and explained why such an extension was

necessary. Defendant recognizes that the affidavit in support of the second wiretap application,

sworn to by Agent Nishida, contains additional information. Defendant argues, however, that this

information was obtained as a result of the first wiretap and that the government at that point had

even more information than it did when it requested the first wiretap (implying that there was so much

information, the second wiretap was not necessary).

         The Court disagrees. The second wiretap application, the supporting affidavit and the Order

authorizing the wiretap are for a piece of telephone hardware and a telephone number distinct and

different from the telephone hardware and telephone number involved in the first wiretap. Moreover,


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the affidavit in support of the second wiretap application clearly describes all of the normal

investigatory techniques that were considered, used or attempted but were not sufficient to develop

a prosecutable case as to each of the suspect’s involvement in a conspiracy in drug activities.

Accordingly, the affidavit provided sufficient information for the authorizing judge to assess the

objectives of the investigation and determine whether the wiretap was necessary to further those

objectives.

          Moreover, while the government may have had substantial evidence before the second wiretap

was initiated, this is not the relevant inquiry. Rather, the issue is whether the government sufficiently

demonstrated that the second wiretap was necessary to further the ultimate goals of the investigation.

The Court finds that the government met this burden. Accordingly, Defendant has failed to rebut the

presumption that the wiretap application for Target Telephone 2 and its supporting affidavit are

proper.

III.      Information Missing from Wiretap Applications

          Defendant quotes from Agent Viera’s affidavit that he has not “set forth each and every fact

known to him regarding the investigation.” Defendant notes that Agent Nishida’s affidavit contains

similar language. Based on this language, Defendant argues that Agent Viera and Agent Nishida

deliberately excluded other information subjectively determined by them to be unnecessary.

Moreover, Defendant argues that there is no way for her to know the extent of this undisclosed

information or whether the inclusion of that information in the affidavit would demonstrate the

complete lack of need for either the first or the second wiretap.

          The entire quote from Agent Viera’s affidavit is as follows:

                                        PROBABLE CAUSE


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                25.     Because this affidavit is being submitted for the limited purpose of
        securing authorization for the interception of the wire communications to the
        TARGET TELEPHONE, I have not included each and every fact known to me
        concerning this investigation. I have set forth only the facts I believe are essential to
        establish the necessary foundation for an order authorizing the interception of wire
        communications of the TARGET TELEPHONE.

See Affidavit of Agent Viera at 7.

        The similar language in Agent Nishida’s affidavit is as follows:

                                        PROBABLE CAUSE

                20.     Because this Affidavit is being submitted for the limited purpose of
        securing authorization for the interception of wire communications, I have not
        included each and every fact known to me concerning this investigation. I have set
        forth only the facts I believe are needed to establish the necessary foundation for an
        order authorizing the initial interception of wire communications to and from
        TARGET TELEPHONE -2.

See Affidavit of Agent Nishida at 10.

        The Court finds that the agents’affirmations are for full and complete disclosure to the Court

on the scope of the investigation and the breadth of evidence presented for the warrant for telephone

interceptions. The Court further finds that the agents’ affirmations are appropriately made to

establish the probable cause for the warrant. Both affidavits contain ample evidence essential to allow

the Court to make a fully-informed, well-reasoned decision as to whether each wiretap authorization

should be issued.

        Moreover, the Court agrees with the government that any purported material omissions or

misstatements fail to rise to the level of intentional or reckless dishonesty on the part of either Agent

Viera or Agent Nishida. See United States v. Leon, 468 U.S. 897 (1984) (creating “good faith”

exception to exclusionary rule). In Leon, the Supreme Court “modified the Fourth Amendment

exclusionary rule by holding that evidence seized pursuant to a search warrant later found to be


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invalid need not be suppressed if the executing officers acted in objectively reasonable, good-faith

reliance on the warrant.” United States v. Rowland, 145 F.3d 1194, 1206 (10th Cir. 1998). The

Supreme Court set forth four situations in which the good-faith exception to the exclusionary rule

does not apply because “an officer would not have reasonable grounds for believing a warrant was

properly issued.” United States v. Danhauer, 229 F.3d 1002, 1007 (10th Cir. 2000). The four

situations are as follows:

       First, evidence should be suppressed if the issuing magistrate was misled by an
       affidavit containing false information or information that the affiant would have
       known was false if not for his “reckless disregard of the truth.” Second, the exception
       does not apply when the “issuing magistrate wholly abandon[s her] judicial role.”
       Third, the good-faith exception does not apply when the affidavit in support of the
       warrant is “so lacking in indicia of probable cause as to render official belief in its
       existence entirely unreasonable.” Fourth, the exception does not apply when a
       warrant is so facially deficient that the executing officer could not reasonable believe
       it was valid.

Id. (citing Leon, 468 U.S. at 922-23).

       In the instant case, Defendant does not argue that any of these situations is present. Indeed,

the Court has heard no evidence to suggest that any of these situations is present. Accordingly, the

Leon good faith exception is applicable.

                                           CONCLUSION

       Based on a review of the allegations set forth in the affidavits in support of the wiretaps of

Target Telephone 1 and Target Telephone 2, the Court finds that the affidavits establish that the

wiretaps were necessary to further the objectives of the government’s investigation. Accordingly,

Defendant has failed to rebut the presumption that the wiretap applications for Target Telephone 1

and Target Telephone 2 are proper.




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         IT IS THEREFORE ORDERED that Defendant Mendoza’s Motion to Suppress [Doc. No.

292] is hereby DENIED.



         Dated this 22nd day of November, 2004.




                                               MARTHA VÁZQUEZ
                                               CHIEF UNITED STATES DISTRICT JUDGE

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